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                    UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re ISLAND VIEW CROSSING II, L.P.,            :                   Chapter 11
                                                :
                        Debtor                  :                   Bky. No. 17-14454
                                                :
                                                :
KEVIN O’HALLORAN, in his capacity as Chapter 11 :
Trustee for ISLAND VIEW CROSSING II, L.P.,      :
                                                :
                        Plaintiff               :
                                                :
              v.                                :
                                                :                   Adv. No. 17-0202
PRUDENTIAL SAVINGS BANK, et al.                 :
                                                :
                        Defendant               :                   Adv. No. 18-0280

                                         ORDER
       AND NOW, upon consideration of the Motion For Partial Summary Judgment filed by

Plaintiff Kevin O’Halloran, Trustee with respect to the claims asserted in Adv. No. 18-280 (“the

Trustee’s Motion”) (Doc. # 112) and the Motion For Summary Judgment filed by Defendant

Prudential Savings Bank with respect to the claims asserted in both adversary proceedings

(“Prudential’s Motion”) (Doc. # 126) and the parties’ respective responses thereto;



       It is hereby ORDERED that:

1. The Trustee’s Motion is DENIED.

2. Prudential’s Motion is GRANTED IN PART AND DENIED IN PART as set forth below.

3. Prudential’s Motion is GRANTED and JUDGMENT is entered in favor of Prudential

   insofar as the Trustee asserts that Prudential committed a breach of an express provision of

   the parties’ contract by failing to refinance the transaction known to the parties as “the Lava

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   loan.”

 Prudential’s Motion is GRANTED and JUDGMENT is entered in favor of Prudential

   insofar as the Trustee asserts that Prudential committed an anticipatory breach of the parties’

   contract in November and December 2015 by verbally threatening to foreclose on the

   Debtor’s real property when, allegedly, Prudential was unaware of any contractual default by

   the Debtor.

 Prudential’s Motion is GRANTED and JUDGMENT is entered in favor of Prudential

   insofar as the Trustee asserts that Prudential committed a breach of an express provision of

   the parties’ contract by failing to fund the April 18, 2016 draw request.

 Prudential’s Motion is GRANTED and JUDGMENT is entered in favor of Prudential with

   respect to the Trustee claim for tortious interference with the Debtor’s contracts.

 In all other respects, Prudential’s Motion is DENIED.

 A pretrial conference is SCHEDULED on September 15, 2021BUBN, at which time

   the partiesshould be prepared to discuss appropriate dates for reinstitution of the deadlines in

   PretrialOrder # 7 that were suspended by the court’s order dated November 19, 2020 and a

   timetable for scheduling trial of this adversary proceeding.




 Date: August 24, 2021
                                      ERIC L. FRANK
                                      U.S. BANKRUPTCY JUDGE




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